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                       Exhibit 14
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                                             HOMES


                                   Employee Handbook

                               Employee Acknowledgement Form

            This employee handbook has been prepared for your information and
         understanding of the policies, philosophies and practices and benefits of LGI
         HOMES CORPORATE, LLC. PLEASE READ IT CAREFULLY.
           I have received a copy of the LGI HOMES CORPORATE, LLC Employee
         Handbook, which outlines the goals, policies, benefits and expectations of LGI
         HOMES CORPORATE, LLC, as well as my responsibilities as an employee.
            By my signature below, I acknowledge, accept and agree to comply with
         the information contained in the Employee Handbook provided to me by LGI
         HOMES CORPORATE, LLC. I understand this handbook is not intended to
         cover every situation which may arise during my employment, but is simply a
         general guide to the goals, policies, practices, benefits and expectations of
         LGI HOMES CORPORATE, LLC.
            I understand that the LGI HOMES CORPORATE, LLC Employee
         Handbook is not a contract of employment and should not be deemed as
         such, and that I am an employee at-will. I also understand that this agreement
         supersedes any prior agreements or contracts.
           By signing below, I accept these terms as a condition of continued
         employment.




                                                     Print Employee Name

                                                     /{}im r ~
                                                      Employee Signature
                                                                                          i - L/-1kz
                                                                                                  Date




         1450 Lake Robbins Dr. Suite 430 The Woodlands, TX 77380 • (281)362-8998 fax: (281)362-8892




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